Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 1 of 9 Page ID #:1524




    1
    2
    3
    4
    5
    6
    7
    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   MOSES HEREDIA, and                     Case No. 5:20-cv-02618-JWH-KKx
        HEREDIA BOXING
   12     MANAGEMENT, INC.,
                                               ORDER GRANTING MOTIONS
   13               Plaintiffs,                TO SET ASIDE ENTRIES OF
                                               DEFAULT [ECF Nos. 71 & 73]
   14         v.
   15   MTK GLOBAL SPORTS
          MANAGEMENT, LLC;
   16   GOLDEN BOY PRODUCTIONS,
          INC.;
   17   VGC, LLP;
        PAUL D. GIBSON;
   18   DANIEL KINAHAN;
        GOLDEN BOY PROMOTIONS,
   19     INC.; and
        MTK GLOBAL USA, LLC,
   20
                    Defendants.
   21
   22
   23
   24
   25
   26
   27
   28
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 2 of 9 Page ID #:1525




    1          Before the Court are two motions:
    2        the motion of Defendant MTK Global Sports Management, LLC to set
    3          aside the entry of default against it;1 and
    4        the motion of Defendant Daniel Kinahan likewise to set aside the entry of
    5          default against it.2
    6   The Court finds these matters appropriate for resolution without a hearing. See
    7   Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support and in
    8   opposition,3 the Court orders that both Motions are GRANTED, as set forth
    9   herein.
   10                                  I. BACKGROUND4
   11          This case involves a dispute between a boxing manager and several
   12   entities and individuals who are accused of interfering with the manager’s
   13   relationships with his fighters.5 Because the Court need rule on only the narrow
   14   issue of the propriety of MTK Global and Kinahan remaining in default, the
   15   Court need not recount the factual allegations, with which the parties are now
   16   quite familiar.6
   17
        1
   18          Def.’s Mot. to Set Aside Entry of Default (the “MTK Motion”) [ECF
        No. 71].
   19   2
               Def.’s Mot. to Set Aside Entry of Default (the “Kinahan Motion”) [ECF
        No. 73].
  20    3
               The Court considered the following papers: (1) the MTK Motion (and its
   21   attachments); (2) Pl.’s Opp’n to the MTK Motion (the “MTK Opposition”)
        (including its attachments) [ECF No. 76]; (3) Def.’s Reply in Supp. of the MTK
   22   Motion (the “MTK Reply”) [ECF No. 79]; (4) the Kinahan Motion (and its
        attachments); (5) Pl.’s Opp’n to the Kinahan Motion (the “Kinahan
   23   Opposition”) (including its attachments) [ECF No. 80]; and (6) Def.’s Reply in
        Supp. of the Kinahan Motion (the “Kinahan Reply”) [ECF No. 81].
  24    4
               Kinahan filed a number of evidentiary objections to the Kinahan
        Opposition. See Def.’s Objs. (the “Objections”) [ECF No. 82]. The Court
   25   does not rely on the evidence to which Kinahan objects. Accordingly, the
        objections are OVERRULED as moot.
   26   5
               See generally Second Am. Compl. (the “Second Amended Complaint”)
   27   [ECF No. 43].
        6
               See Order Re: Mots. to Dismiss & Mot. to Compel Arbitration [ECF
   28   No. 83].

                                                 -2-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 3 of 9 Page ID #:1526




    1         The Clerk of the Court entered default against MTK Global and Kinahan
    2   in February 2022.7 MTK Global and Kinahan filed the instant MTK Motion
    3   and Kinahan Motion the next month, and both Motions are fully briefed. In
    4   April 2022, Plaintiff Moses Heredia amended his complaint for the third time.8
    5                               II. LEGAL STANDARD
    6         The Federal Rules of Civil Procedure provide that a “court may set aside
    7   an entry of default for good cause . . . .” Fed. R. Civ. P. 55(c). “The district
    8   court has discretion to determine whether a party demonstrates ‘good cause.’”
    9   Yan v. Gen. Pot, Inc., 78 F. Supp. 3d 997, 1003 (N.D. Cal. 2015) (quoting Madsen
   10   v. Bumb, 419 F.2d 4, 6 (9th Cir. 1969)). That discretion “is particularly broad
   11   where a party seeks to set aside an entry of default rather than a default
   12   judgment.” Id. at 1004 (citing Mendoza v. Wight Vineyard Mgmt., 783 F.2d 941,
   13   944-45 (9th Cir. 1986)).
   14         To determine whether good cause exists, a district court must first
   15   determine—as a threshold matter—whether the moving defendant was properly
   16   served. See Haynes v. Bank of Am., 2009 WL 10680849, at *1 (C.D. Cal. Aug. 5,
   17   2009) (citing Mitchell v. Los Angeles Cmty. Coll. Dist., 861 F.2d 198, 202 (9th Cir.
   18   1988)). If service was proper, the district court must then consider three factors:
   19   “(1) whether the defendant’s culpable conduct led to the default; (2) whether
  20    the defendant has a meritorious defense; and (3) whether setting aside the
   21   default would prejudice the plaintiff.” Yan, 78 F. Supp. 3d at 1004. That
   22   “standard . . . is disjunctive, such that a finding that any one of these factors is
   23   true is sufficient reason for the district court to refuse to set aside the default.”
  24    United States v. Signed Pers. Check No. 730 of Yubran S. Mesle, 615 F.3d 1085,
   25   1091 (9th Cir. 2010). At the same time, “judgment by default is a drastic step
   26
        7
   27         See Default by Clerk [ECF No. 65]; Default by Clerk [ECF No. 66].
        8
              See Third Amended Complaint (the “Amended Complaint”) [ECF
   28   No. 85].

                                                  -3-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 4 of 9 Page ID #:1527




    1   appropriate only in extreme circumstances; a case should, whenever possible, be
    2   decided on the merits.” Id. (quotation and citations omitted).
    3                                    III. DISCUSSION
    4   A.    Proper Service
    5         MTK Global and Kinahan both argue that Heredia failed to serve them
    6   properly. “It is axiomatic that a federal court does not have jurisdiction over a
    7   defendant if the defendant is not properly served.” Gaboratory, Inc. v.
    8   Gaboratory Int’l, Inc., 2008 WL 11406072, at *2 (C.D. Cal. Nov. 10, 2008)
    9   (citing cases). “[A]ny default entered following defective service of process
   10   must be vacated.” Id. (emphasis added) (citing Peralta v. Heights Med. Ctr., Inc.,
   11   485 U.S. 80, 84-86 (1988)). Once a defendant asserts that it was not served
   12   properly, “plaintiffs bear the burden of establishing that it was valid under
   13   Rule 4.” Id. (citing Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
   14   Because Heredia fails to satisfy that burden with respect to either MTK Global
   15   or Kinahan, the Court discusses only the issue of proper service.
   16         1.     The MTK Motion
   17         MTK Global is located in Dubai, United Arab Emirates.9 “The UAE is
   18   not a party to the Hague Convention and the parties agree that no other
   19   internationally agreed upon means of service exist between the United States
  20    and the UAE.” Smallwood v. Allied Pickfords, LLC, 2009 WL 3247180, at *12
   21   (S.D. Cal. Sept. 29, 2009), on reconsideration in part, 2010 WL 11508273
   22   (S.D. Cal. Feb. 5, 2010), and aff’d sub nom. Smallwood v. Allied Van Lines, Inc.,
   23   660 F.3d 1115 (9th Cir. 2011).
  24          The Federal Rules of Civil Procedure provide that a foreign corporation,
   25   partnership, or association must be served “in any manner prescribed by
   26   Rule 4(f) for serving an individual, except personal delivery under (f)(2)(C)(i).”
   27
        9
             See Decl. of Quentin Richard Reynolds in Supp. of the MTK Motion (the
   28   “Reynolds Declaration”) [ECF No. 71-2] ¶ 2.

                                                -4-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 5 of 9 Page ID #:1528




    1   Fed. R. Civ. P. 4(h)(2). When no internationally agreed upon means of service
    2   exists—as is the case here—Rule 4(f)(2) applies. See Fed. R. Civ. P. 4(f)(2).
    3   Under Rule 4(f)(2), the method of service must be reasonably calculated to give
    4   notice:
    5         (A) as prescribed by the foreign country’s law for service in that
    6         country in an action in its courts of general jurisdiction;
    7         (B) as the foreign authority directs in response to a letter rogatory or
    8         letter of request; or
    9         (C) unless prohibited by the foreign country’s law, by . . .
   10                (ii) using any form of mail that the clerk addresses and sends
   11                to the individual and that requires a signed receipt . . . .
   12   Id.
   13         Heredia contends that it served MTK Global properly.10 Indeed, Heredia
   14   avers that he served MTK Global in three different ways, each of which
   15   supposedly suffices under UAE law.11 However, based upon Heredia’s own
   16   description of UAE law—provided through his process server, who is a UAE
   17   lawyer—none of those attempts at service suffices.
   18         First, Heredia attempted to serve MTK Global via publication.12
   19   According to Heredia’s process server, service through publication is permitted
  20    in the UAE only if the party “has no domicile, residence, place of business, fax,
   21   email or a postal address . . . .”13 Here, MTK Global has a place of business,
   22   email, and postal address in the UAE.14
   23
  24
        10
              MTK Opposition 2:11-12.
   25   11
              Decl. of Jouslin Chibli Khairallah (the “Khairallah Declaration”) [ECF
   26   No. 62] ¶¶ 6-8.
        12
              Id. at ¶ 7.
   27   13
              Id.
   28   14
              See Reynolds Declaration ¶ 6.

                                                 -5-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 6 of 9 Page ID #:1529




    1         Second, Heredia claims to have served MTK Global via courier.15
    2   Quentin Richard Reynolds, MTK Global’s Head of Global Operations, declared
    3   under oath that “MTK global never received such documents at its registered
    4   office. Based on our investigation, it appears that the documents were delivered
    5   to the MTK Global DMCC branch office, which (although it shares the MTK
    6   name) is not legally connected to MTK Global.”16 Heredia provides no
    7   substantive rebuttal to Reynolds’ claim that service was made to the wrong
    8   address; Heredia simply says that he “does not concede” the issue.17 In the
    9   absence of any meaningful opposition, the Reynolds Declaration is dispositive.
   10         Third, Heredia claims to have served MTK Global in October 2021 via
   11   email.18 Heredia’s process server did not, however, attach any October 2021
   12   emails as exhibits to her declaration.19 Instead, she attached as exhibits two
   13   emails that appear to have been sent in March 2021—five months before the
   14   summons was issued.20 Reynolds, for his part, has been unable to locate any
   15   emails transmitting the summons.21 In his MTK Opposition, Heredia attaches
   16   copies of emails that were purportedly transmitted in October 2021,22 but he
   17   fails to authenticate them, so the Court does not consider them. See
   18   Fed. R. Evid. 901 & 902.
   19         Heredia argues that the sworn declaration of his process server, a UAE
  20    lawyer, “stating that she emailed the summons on three different dates, should
   21
   22
        15
   23         Khairallah Declaration ¶ 8.
        16
              Reynolds Declaration ¶ 7.
  24    17
              MTK Opposition 3:10.
   25   18
              Khairallah Declaration ¶ 8.
        19
   26         See Khairallah Declaration.
        20
              See Khairallah Declaration, Ex. A [ECF No. 62-1].
   27   21
              Reynolds Declaration ¶ 8.
   28   22
              See MTK Opposition, Exs. B, C, & D.

                                                -6-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 7 of 9 Page ID #:1530




    1   be conclusive proof that those emails actually were sent.”23 The Court is not
    2   convinced. Heredia had two opportunities to submit proof that he caused those
    3   emails to be transmitted in a timely manner. On both occasions, he failed to do
    4   so. In light of that failure, and considering the conflicting sworn declarations of
    5   Reynolds and Khairallah, the Court finds that Heredia does not satisfy his
    6   burden of proving that he served MTK properly. Accordingly, the MTK
    7   Motion is GRANTED.
    8         2.     The Kinahan Motion
    9         Heredia does not contest that Kinahan is located in the UAE.
   10   Accordingly, service is governed by Rule 4(f). See Fed. R. Civ. P. 4(f). Heredia
   11   claims to have served Kinahan properly via publication, courier, and email.24
   12   However, Heredia’s attempts to serve Kinahan fail for essentially the same
   13   reasons that his attempts to serve MTK Global fail.
   14         First, based upon Heredia’s process server’s description of UAE law,
   15   Heredia’s attempt to serve Kinahan via publication fails. According to the
   16   process server, service via publication is not allowed when the defendant has a
   17   domicile or residence in the UAE.25 While it is not clear that Kinahan does have
   18   a domicile or residence in the UAE, Kinahan does purport to be a UAE
   19   resident.26 Because the burden is on Heredia to prove that service was proper,
  20    see Brockmeyer 383 F.3d at 801, and because Heredia makes no attempt to prove
   21   that Kinahan lacks a UAE residence or domicile, the Court finds that Heredia
   22   has failed to establish that service via publication was proper.
   23
  24
   25   23
              MTK Opposition 4:13-15.
   26   24
              Kinahan Opposition 2:25-3:1.
        25
   27         Khairallah Declaration ¶ 7.
        26
              Decl. of Daniel Kinahan in Supp. of the Kinahan Motion (the “Kinahan
   28   Declaration”) [ECF No. 73-1] ¶ 2.

                                                 -7-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 8 of 9 Page ID #:1531




    1         Second, Heredia avers that he served Kinahan via courier service to a
    2   UAE P.O. Box.27 Kinahan declares that he has never used the P.O. Box at issue,
    3   nor has that mail receptacle ever been associated with him.28 In the Kinahan
    4   Opposition, Heredia provides no evidence that the P.O. Box was associated with
    5   Kinahan beyond quoting his process server, who refers to the P.O. Box as
    6   Kinahan’s “last known address.”29 Heredia fails to offer any support for his
    7   process server’s conclusory statement.
    8         Finally, Heredia’s argument that he served Kinahan via email fails for the
    9   same reason that it fails with respect to MTK: Heredia’s process server
   10   declares that she served Kinahan in October 2021, but the emails that she
   11   attaches to her declaration are from March 2021.30 The process server
   12   submitted a separate declaration in support of the Kinahan Opposition, but, in
   13   that declaration, she does not mention any email.31
   14         The Court finds that Heredia has failed to meet his burden of showing
   15   that Kinahan was served properly. Accordingly, the Kinahan Motion is
   16   GRANTED.
   17   B.    The Amended Complaint
   18         “The filing of an amended complaint supersedes the original complaint,
   19   which is treated thereafter as non-existent.” Liberty Media Holdings, LLC v.
  20    Hawaii Members of Swarm of Nov. 15, 2010 to Jan. 27, 2011, Sharing Hash File
   21   AE340D0560129AFEE8D78CE07F2394C7B5BC9C05, 2012 WL 1377003, at *1
   22   (D. Haw. Mar. 27, 2012), report and recommendation adopted, 2012 WL 1377000
   23   (D. Haw. Apr. 18, 2012) (quotation omitted). The Clerk entered default with
  24
        27
             Kinahan Opposition 3:1.
   25   28
             Kinahan Declaration ¶ 4.
   26   29
             Kinahan Opposition 3:21.
        30
   27        Compare Khairallah Declaration ¶ 8 with Khairallah Declaration, Ex. A.
        31
             See Decl. of Jouslin Chibli Khairallah in Supp. of Kinahan Opposition
   28   [ECF No. 80-1].

                                                 -8-
Case 5:20-cv-02618-JWH-KK Document 87 Filed 05/10/22 Page 9 of 9 Page ID #:1532




    1   respect to Heredia’s Second Amended Complaint. “Because [Heredia’s
    2   Second Amended Complaint] no longer performs any function, a default based
    3   on [that pleading] must also be rendered ineffectual and non-existent.”
    4   ThermoLife Int’l, LLC v. Sechel Holdings, Inc., 2015 WL 1521779, at *1 (D. Ariz.
    5   Apr. 3, 2015). Thus, even if the instant MTK Motion and Kinahan Motions
    6   lacked merit, the Clerk’s entries of default would still be set aside.
    7                                  IV. CONCLUSION
    8         For the foregoing reasons, the Court hereby ORDERS as follows:
    9         1.     The MTK Motion is GRANTED. The default entered against
   10   MTK Global on February 2, 2022, is hereby SET ASIDE.
   11         2.     The Objections are OVERRULED as moot.
   12         3.     The Kinahan Motion is GRANTED. The default entered against
   13   Kinahan on February 2, 2022, is hereby SET ASIDE.
   14         IT IS SO ORDERED.
   15
   16   Dated: May 10, 2022
                                                John W. Holcomb
   17                                           UNITED STATES DISTRICT JUDGE
   18
   19
  20
   21
   22
   23
  24
   25
   26
   27
   28

                                                 -9-
